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                                        Exhibit 1




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors.1                          (Jointly   Administered)
                                                                      Ref. Docket No. 1003

       ORDER SHORTENING NOTICE PERIOD AND SCHEDULING HEARING
       WITH RESPECT TO THE DEBTORS’ MOTION FOR ENTRY OF ORDER
        APPROVING STIPULATION BETWEEN DEBTORS AND JPMORGAN
         CHASE BANK, N.A. (I) AUTHORIZING DEBTORS TO (A) SUBMIT
        APPLICATION AND AGREEMENT FOR ISSUANCE OF LETTER OF
    CREDIT, AND (B) OBTAIN CREDIT UNDER LETTER OF CREDIT AGREEMENT
      SECURED BY ASSIGNMENT OF CASH SECURITY, AND (II) MODIFYING
      THE AUTOMATIC STAY TO ALLOW APPLICATION OF ASSIGNED CASH
        SECURITY UNDER TERMS OF LETTER OF CREDIT AGREEMENT

                   Upon consideration of the motion (the “Motion to Shorten”)2 of the above-captioned

debtors and debtors-in-possession (collectively, the “Debtors”) for the entry of an order (this

“Order”): (a) shortening notice with respect to the Debtors’ Motion for Entry of Order Approving

Stipulation Between Debtors and JPMorgan Chase Bank, N.A. (I) Authorizing Debtors to

(A) Submit Application and Agreement for Issuance of Letter of Credit, and (B) Obtain Credit

under Letter of Credit Agreement Secured by Assignment of Cash Security, and (II) Modifying the

Automatic Stay to Allow Application of Assigned Cash Security under Terms of Letter of Credit

Agreement (the “Motion”); (b) setting a hearing on the Motion before this Court on January 9,

2024 at 11:00 a.m. (prevailing Eastern Time) (the “Hearing”); and (c) granting related relief, all




1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.
2
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion to Shorten.



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as more fully set forth in the Motion to Shorten; and the United States District Court for the District

of Delaware having jurisdiction over this matter pursuant to 28 U.S.C. § 1334, which was referred

to this Court under 28 U.S.C. § 157 pursuant to the Amended Standing Order of Reference from

the United States District Court for the District of Delaware, dated February 29, 2012; and the

Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court

having found that it may enter a final order consistent with Article III of the United States

Constitution; and the Court having found that venue of this proceeding and the Motion to Shorten

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and due, sufficient, and proper

notice of the Motion to Shorten having been provided under the circumstances and in accordance

with the Bankruptcy Rules and the Local Rules, and it appearing that no other or further notice

need be provided; and the Court having found cause for the relief requested in the Motion to

Shorten pursuant to Local Rule 9006-1(e); and the Court having found and determined that the

relief sought in the Motion to Shorten is in the best interests of the Debtors, their estates, their

creditors, their stakeholders, and all other parties in interest, and that the legal and factual bases

set forth in the Motion to Shorten establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefor;

                   IT IS HEREBY ORDERED THAT:

                   1.           The Motion to Shorten is GRANTED as set forth herein.

                   2.           The Motion will be considered by the Court on January 9, 2024 at

11:00 a.m. (prevailing Eastern Time) (the “Hearing”).

                   3.           Any response or objection to the Motion must be filed by January 5, 2024

at 5:00 p.m. (prevailing Eastern Time).




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                   4.           This Court shall retain exclusive jurisdiction to hear and determine all

matters arising from or related to the interpretation, implementation, or enforcement of this Order.




       Dated: December 27th, 2023                           THOMAS M. HORAN
       Wilmington, Delaware                                 UNITED STATES BANKRUPTCY JUDGE




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